 Case 16-35219-KLP                      Doc 16 Filed 02/04/17 Entered 02/05/17 00:25:58                         Desc Imaged
                                             Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1              Toni Jennifer Woody                                          Social Security number or ITIN   xxx−xx−3012
                      First Name   Middle Name   Last Name                         EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                   EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Eastern District of Virginia

Case number: 16−35219−KLP



Discharge of Debtor                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Toni Jennifer Woody
           fka Toni J. Brandon

                                                                          For the court:              William C. Redden
           February 1, 2017                                                                           Clerk


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.

However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                         For more information, see page 2 >




Official Form 318                                            Discharge of Debtor                                page 1
 Case 16-35219-KLP           Doc 16 Filed 02/04/17 Entered 02/05/17 00:25:58               Desc Imaged
                                  Certificate of Notice Page 2 of 4




Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318                             Discharge of Debtor                          page 2
     Case 16-35219-KLP         Doc 16 Filed 02/04/17 Entered 02/05/17 00:25:58                  Desc Imaged
                                    Certificate of Notice Page 3 of 4
                                      United States Bankruptcy Court
                                      Eastern District of Virginia
In re:                                                                                  Case No. 16-35219-KLP
Toni Jennifer Woody                                                                     Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0422-7           User: admin                  Page 1 of 2                   Date Rcvd: Feb 02, 2017
                               Form ID: 318                 Total Noticed: 33


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 04, 2017.
db             +Toni Jennifer Woody,    2309 Wilkes Ridge Place,    Henrico, VA 23233-7342
cr             +MAAC, Inc. t/a The Retreat at West Creek,     c/o Coulter, Harris & Loftus, PC,
                 7900 Sudley Road, Suite 608,    Manassas, VA 20109-2806
13624463       +Allied Cash Advance,    2312-12B Hungary Rd.,    Henrico, VA 23228-2122
13624464       +American Anesthesiology,    of Virginia, PC,    P.O. Box 120153,    Grand Rapids, MI 49528-0103
13624467       +Argent Federal Credit Union,    P.O. Box 72,    Chesterfield, VA 23832-0900
13624470       +Big Picture Loans,    P.O. Box 704,   Watersmeet, MI 49969-0704
13624472       +Cash-2-U Financial Services,    4118 W. Broad St.,    Richmond, VA 23230-3353
13624475       +Citibank / Sears,    Citicorp Credit Services,    Po Box 790040,    Saint Louis, MO 63179-0040
13624477       +Edc/Mid-america Apartments,    1000 Wilkes Ridge Parkway,    Richmond, VA 23233-7335
13624478       +First Data,    5565 Glenridge,   Connector NE Ste 2000,    Atlanta, GA 30342-1335
13624479        First Premier,    601 S Minneapolis Ave,    Sioux Falls, SD 57104-0000
13624480       +First Virginia Financial Srv.,    9121 Staples Mill Rd.,    Richmond, VA 23228-2026
13624481       +Golden Valley Lending,    635 East Hwy 20,    E Upper Lake, CA 95485-8793
13624483      #+James E. Jones Jr., MD,    5875 Bremo Rd. Ste. 304,    Richmond, VA 23226-1934
13624486       +NH Cash,    169 South River Rd. Ste. 19,    Bedford, NH 03110-6934
13624489       +Rivertrace FCU,    6011 Staples Mill Rd.,    Henrico, VA 23228-4923
13624490       +St. Mary’s Hospital,    5801 Bremo Rd.,    Richmond, VA 23226-1900
13624492       +Verizon Wireless,    500 Technology Dr.,    Ste. 550,   Weldon Spring, MO 63304-2225

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QLLTAVENNER.COM Feb 03 2017 02:13:00       Lynn L. Tavenner,
                 20 North Eighth Street, Second Floor,     Richmond, VA 23219-3302
13624465        EDI: HNDA.COM Feb 03 2017 02:13:00      American Honda Finance,     P.O. Box 168088,
                 Irving, TX 75016-0000
13624463       +EDI: ALLIEDCASH.COM Feb 03 2017 02:13:00       Allied Cash Advance,    2312-12B Hungary Rd.,
                 Henrico, VA 23228-2122
13624466       +EDI: AMEREXPR.COM Feb 03 2017 02:13:00       Amex,   P.O. Box 981540,    El Paso, TX 79998-1540
13624468       +E-mail/Text: bk@avant.com Feb 03 2017 02:21:39       Avant Credit, Inc,     640 N La Salle St,
                 Suite 535,   Chicago, IL 60654-3731
13624469       +EDI: BANKAMER.COM Feb 03 2017 02:13:00       Bank Of America,    Nc4-105-03-14,    P.O. Box 26012,
                 Greensboro, NC 27420-6012
13624471       +EDI: CAPITALONE.COM Feb 03 2017 02:13:00       Captial One,    P.O. Box 30273,
                 Salt Lake City, UT 84130-0273
13624473       +E-mail/Text: heatherg@checkcity.com Feb 03 2017 02:20:44        Check City,    6001 West Broad St.,
                 Richmond, VA 23230-2221
13624476       +EDI: DISCOVER.COM Feb 03 2017 02:13:00       Discover Financial,    P.O. Box 3025,
                 New Albany, OH 43054-3025
13624482        EDI: IRS.COM Feb 03 2017 02:13:00      Internal Revenue Service,     Insolvency Unit,
                 P.O. Box 21126,   Philadelphia, PA 19114-0000
13624484       +E-mail/Text: bk@lendingclub.com Feb 03 2017 02:21:30        Lending Club Corp,    71 Stevenson St,
                 Suite 300,   San Francisco, CA 94105-2985
13624485       +E-mail/Text: Bankruptcy_3rdParty_Team@cashnetusa.com Feb 03 2017 02:21:45
                 Net Credit Financial,    P.O. Box 645295,    Cincinnati, OH 45264-0001
13624487       +E-mail/Text: bankruptcypgl@plaingreenloans.com Feb 03 2017 02:21:29         Plain Green Loans,
                 93 Mack Rd Ste 600,     P.O. Box 270,   Box Elder, MT 59521-0270
13624488       +E-mail/Text: bankruptcy@regionalmanagement.com Feb 03 2017 02:20:39         Regional Finance,
                 5694 Brook Road,   Richmond, VA 23227-2274
13624491       +EDI: RMSC.COM Feb 03 2017 02:13:00      Synchrony Bank/Care Credit,     P.O. Box 965064,
                 Orlando, FL 32896-5064
13624493       +EDI: VACU.COM Feb 03 2017 02:13:00      Virginia Credit Union,     P.O. Box 90010,
                 Richmond, VA 23225-9010
                                                                                                TOTAL: 16

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*             +Virginia Credit Union, Inc.,   P.O. BOX 90010,   RICHMOND, VA 23225-9010
13624494*       +Virginia Credit Union,   Po Box 90010,   Richmond, VA 23225-9010
13624474      ##+CircleBack Lending Inc,   2500 N Military Trail,   Boca Raton, FL 33431-6305
                                                                                               TOTALS: 0, * 2, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.     Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.
      Case 16-35219-KLP                Doc 16 Filed 02/04/17 Entered 02/05/17 00:25:58                               Desc Imaged
                                            Certificate of Notice Page 4 of 4


District/off: 0422-7                  User: admin                        Page 2 of 2                          Date Rcvd: Feb 02, 2017
                                      Form ID: 318                       Total Noticed: 33


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 04, 2017                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 1, 2017 at the address(es) listed below:
              Christopher Mark Winslow    on behalf of Debtor Toni Jennifer Woody chris@chriswinslow.com,
               winslowparalegal@gmail.com
              Connell Andrew Loftus    on behalf of Creditor   MAAC, Inc. t/a The Retreat at West Creek
               cal@manassaslawfirm.com
              Lynn L. Tavenner   ltavenner@tb-lawfirm.com,
               sleadbeater@tb-lawfirm.com;amorris@tb-lawfirm.com;ltavenner@ecf.epiqsystems.com
                                                                                             TOTAL: 3
